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EDOK Criminal Complaint (Revised 6/13)




                                United States District Court
                                               EASTERN DISTRICT OF OKLAHOMA
UNITED             STATES            OF AMERICA,
                                                                           CRIMINAL COMPLAINT
                                                Plaintiff,

v.                                                                                             22-MJ-230-JAR
                                                                           Case No.

CODY RAY MCFADDEN,

                                                Defendant.



       I, Richard Harvey, the undersigned complainant,                state that the following is true to the best of my
knowledge and belief.

        On or about July 17,2022, in the Eastern District of Oklahoma, CODY RAY MCFADDEN
violated Title 18, United States Code, Sections 1201(a)(2), 1151, and 1153, an offense described as
follows: Kidnapping in Indian Country.

        I further state that I am a Special Agent with Federal Bureau of Investigation,                        and that this
complaint is based on the following facts:

        (See attached Affidavit of Richard Harvey, which is attached hereto and made a part hereof by
reference.)

             IZJ           Continued on the attached sheet.



                                                               Richard Harvey, Special Agent
                                                               Federal Bureau of Investigation
                                                               Complainant


Sworn to before me and subscribed in my presence at: MUSKOGEE,                             OKLAHOMA

Date: August II, 2022.
JASON A. ROBERTSON
UNITED STATES MAGISTRATE                               JUDGE
Name and Title of Judicial           Officer                   Signature   of Judicial   Officer
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                      AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

            I, Richard Harvey, being duly sworn, depose and state the following:

                         AGENT BACKGROUND AND INTRODUCTION

        1.     I am a Special Agent (SA) of the Federal Bureau of Investigation             (FBI) where I have

been employed since January 2011. I am an investigative                officer, or law enforcement    officer, of

the United States of America within the meaning of Title 18, United States Code (U.S.C.), Section

2510(7), that is an officer of the United States who is empowered             by law to conduct investigation

of, and make arrests for, offenses enumerated           in Title 18. In the course of my duties as special

agent, I have investigated        criminal violations   related to Indian Country crimes, as explained         in

Title 18, U.S.C. § 1151 and as it pertains to the Major Crimes Act (MCA). Further, I have

conducted     and participated     in a variety of criminal investigations      and have received extensive

training in a variety of law enforcement          topics, including,     but not limited to violent fugitives,

robbery, carjacking, kidnapping, drug trafficking, criminal gangs, illicit firearms, national security,

child exploitation,    child pornography,     and related offenses.

                                            PROBABLE CAUSE

        2.     There is probable       cause to believe that Cody Ray McFadden               ("MCFADDEN")

committed      the offense       of Kidnapping     in Indian     Country,    in violation    Title   18, U.S.C.

§§ 1201(a)(2), 1151,and       1153.

        3.     The statements contained in this Affidavit are based on information provided by other

agencies,    written reports about this and other investigations            that I have received,    directly or

indirectly, from other law enforcement         agents, and my experience,       training, and background    as a

Special Agent with the FBI.

        4.     Because   this Affidavit     is being submitted      for the limited purpose     of establishing

probable cause to believe that MCFADDEN                 committed      the offense of Kidnapping      in Indian
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Country, I have not included every detail of the investigation.              In addition,   unless otherwise

indicated, all statements contained in this Affidavit are summaries         in substance and in part.

           5.     VENUE: The events alleged in this affidavit occurred in McAlester, Oklahoma, within

the Eastern District of Oklahoma.         The events occurred within the Choctaw Nation Reservation,

which is Indian Country as defined in Title 18, U.S.C. § 1151, and within the special maritime and

territorial jurisdiction    of the United States.

           6.     DEFENDANT:       MCFADDEN's        date of birth is July XX, 1988. MCFADDEN              is an

Indian and is an enrolled member by blood of the Sisseton-Wahpeton                band of the Sioux Tribe

based in Lake Travers, South Dakota, a federally recognized Indian tribe.

           7.     VICTIM: The victim in this matter is A.T. A.T. is an Indian and is an enrolled member

by blood of the Choctaw Nation, a federally recognized Indian tribe.

           8.     BACKGROUND:         On or about July 17, 2022, deputies with the Pittsburg County

Sheriffs        Office ("PCSO") were dispatched to 9041 Redbird Drive in McAlester,          Oklahoma for a

domestic violence report.

           9.     When the deputies arrived, they encountered       A.T. A.T. was inside of a neighboring

residence, and had injuries to her head, arms, legs, and back. A.T. was bruised and bleeding in

these locations. A.T.'s left arm was wrapped in a towel.

           10. A.T. told deputies that on July 16,2022,          she went to MCFADDEN's         residence to

check on him. A.T. is McFadden's          ex-girlfriend   and used to reside with him.

           11. A.T. told deputies MCFADDEN            barricaded her inside of the residence, assaulted her

with a fiberglass rod, and forced her into a dog cage.

           12. After forcing her into the dog cage, MCFADDEN            locked it, confining her inside.




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         13. While A.T. was confined in the dog cage, MCFADDEN                    assaulted her again with the

fiberglass   rod. MCFADDEN          also sprayed       A.T.     with pepper     spray    and subjected     her to

electrocution,    using an extension cord.

         14. Additionally,    during this time period, MCFADDEN                pointed a crossbow at the dog

cage and stated he would shoot A.T.

         15. A.T. stated that she was able to escape from the dog cage after MCFADDEN                      struck

the cage with an axe. A.T. stated the axe strike bent the cage in a way that allowed her to get out.

         16. A.T. claimed that as she was attempting             to escape, MCFADDEN            struck her in the

head with the axe.

         17. A.T. claimed she dove out of a broken window and ran to the neighboring                     property

for help.

        18. A.T. was transported         by ambulance       to the McAlester     Regional     Hospital to obtain

treatment for her injuries. Deputies later learned A.T. was treated for a fractured left forearm and

other injuries.

        19. After A.T. was transported       to the hospital, deputies used a public address system to

attempt to call MCFADDEN          out of the residence at 9041 Redbird Drive.

        20. While      deputies   were    attempting     to call    MCF ADDEN           out of the residence,

MCF ADDEN exited on multiple occasions, but told deputies not to get any closer to him before

repeatedly returning to the residence.

        21. Deputies      feared MCFADDEN          was armed        and deployed        cannisters   of oleoresin

capsicum gas into the residence.         Approximately        eighteen (18) to thirty (30) minutes after the

deputies first deployed the gas into the residence, deputies observed flames on the southeast side

of the residence.




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       22. MCFADDEN        was observed       crawling out from underneath      the residence     and was

taken into custody.

       23. On or about July 18, 2022, a search warrant was issued for the 9041 Redbird Drive

residence. In the course of executing the search warrant, deputies observed and photographed            an

animal cage consistent with the description provided by A.T.

       24. Based on a review of this case and based on my knowledge             and experience,     I have

probable cause to believe Cody Ray McFadden committed            the offense of Kidnapping      in Indian

Country in violation of Title 18, United States Code, Sections 1201 (a)(2), 1151, and 1153.

                                                        Respectfully   Submitted,

                                                             '1/L~~
                                                        RICHARD HARVEY
                                                        Special Agent, FBI




       Sworn before me this II   th   day of August, 2022.




                                                        UNITED STATES MAGISTRATE JUDGE
                                                        EASTERN DISTRICT OF OKLAHOMA




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